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To whom it may concern:

My name is Jonna Hunter and I have known Daniel Ball my entire life. I know Daniel to be a
very kind, caring person. He has a big heart and loves wholeheartedly. He is a great father
and loves his son very much. He is always making sure everyone around him is laughing
and comfortable. I grew up with him around my entire life and I always have the best
memories when we were together. I only know Daniel as a good person and have never
witnessed an ounce of him being a bad person.
